       Case 1:25-cv-00298-RDM            Document 67       Filed 05/02/25      Page 1 of 4




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

AMICA CENTER FOR IMMIGRANT
RIGHTS, et al.,
                  Plaintiffs,
                                                     Case No. 1:25-cv-00298-RDM
       v.
                                                     PLAINTIFFS’ MOTION FOR
                                                     SUMMARY JUDGMENT AND
UNITED STATES DEPARTMENT OF
                                                     REQUEST FOR PRELIMINARY
JUSTICE, et al.,
                                                     INJUNCTIVE RELIEF
                           Defendants.


       Plaintiffs Amica Center for Immigrant Rights, American Bar Association, American

Gateways, Charlotte Center for Legal Advocacy, Estrella Del Paso, Florence Immigrant and

Refugee Rights Project, Immigration Center for Women and Children, Immigration Services and

Legal Advocacy, National Immigrant Justice Center, Northwest Immigrant Rights Project,

Pennsylvania Immigration Resource Center, and Rocky Mountain Immigrant Advocacy Network,

respectfully move for summary judgment on each claim in Plaintiffs’ First Amended Complaint

for Declaratory and Injunctive Relief (Dkt. 62), and for relief as follows:

       1. DECLARING that Defendants’ actions that terminated the Legal Orientation Program
          (“LOP”), Legal Orientation Program for Custodians of Unaccompanied Children
          (“LOPC”), Immigration Court Helpdesk (“ICH”), Family Group Legal Orientation
          Program (“FGLOP”), and Counsel for Children Initiative (“CCI”) violate the APA
          because they are “arbitrary, capricious, an abuse of discretion, or otherwise in violation
          of the law;”

       2. DECLARING that Defendants’ actions that terminated LOP, LOPC, ICH, FGLOP, and
          CCI violate the APA because they violate the Appropriations Clause;

       3. DECLARING that Defendants’ actions that terminated LOP, LOPC, ICH, FGLOP, and
          CCI violates the APA because they violate Plaintiffs’ First Amendment Rights;

       4. DECLARING that Defendants’ actions that terminated LOP, LOPC, ICH, FGLOP, and
          CCI violate the separation of powers because Defendants exceed the appropriate
          authority of the Executive Branch and purport to exercise power granted exclusively to
          Congress;



                                                 1
       Case 1:25-cv-00298-RDM           Document 67        Filed 05/02/25      Page 2 of 4




       5. DECLARING that Defendants’ actions that terminated LOP, LOPC, ICH, FGLOP, and
          CCI are ultra vires and void;

       6. HOLDING UNLAWFUL AND SETTING ASIDE Defendants’ actions that violated
          the APA, including Defendants’ actions that terminated LOP, LOPC, ICH, FGLOP,
          and CCI;

       7. ENJOINING all Defendants and all persons in active concert or participation with
          them, from taking any action that

               a. pauses, stops, impedes, blocks, cancels, or terminates Defendants’ compliance
                  with the mandate in the Department of Justice Appropriations Act, 2024 to fund
                  LOP, LOPC, ICH, FGLOP, and CCI;

               b. denies Plaintiff practitioners access to Defendants’ facilities for the purpose of
                  providing LOP, LOPC, ICH, FGLOP, or CCI services;

       8. ENJOINING all Defendants and all persons in active concert or participation with
          them, from removing from Defendants’ facilities any of Plaintiffs’ posters, literature,
          or other written communications pertaining to LOP, LOPC, ICH, FGLOP, or CCI
          services;

       9. ENJOINING all Defendants and all persons in active concert or participation with
          them, to permit Plaintiffs to continue to post or distribute within Defendants’ facilities
          any of Plaintiffs’ posters, literature, or other written communications pertaining to
          LOP, LOPC, ICH, FGLOP, or CCI services;

       10. ENJOINING all Defendants and all persons in active concert or participation with
           them, to remove from their websites and any other locations of publication any
           statement indicating or suggesting that LOP, LOPC, ICH, FGLOP, or CCI services are
           not available; and

       11. ENJOINING Defendants and all persons in active concert or participation with them,
           from preventing Plaintiffs from accessing Defendants’ facilities for the purpose of
           providing LOP, LOPC, ICH, FGLOP, or CCI services;

       12. AWARDING Plaintiffs’ counsel reasonable attorneys’ fees under the Equal Access to
           Justice Act, and any other applicable statute or regulation; and

       13. GRANTING such other and further relief in favor of Plaintiffs and against Defendants
           as this Court deems just and proper.

       The administrative record and other evidence in this case proves that the Court should grant

summary judgment for Plaintiffs on each of Plaintiffs’ causes of action. The administrative record

leaves no doubt that the April 10, 2025 termination was arbitrary and capricious, contrary to law,



                                                 2
       Case 1:25-cv-00298-RDM            Document 67        Filed 05/02/25      Page 3 of 4




and unconstitutional. Because the termination is not supported by the administrative record or

consistent with the Administrative Procedure Act (“APA”), this Court should grant summary

judgment in Plaintiffs’ favor, permanently enjoin the termination, and grant Plaintiffs’ other

requested relief.

       In the alternative—or until the Court issues a decision on Plaintiffs’ motion for summary

judgment—Plaintiffs also request a preliminary injunction, which is warranted on the facts before

the Court. Because Plaintiffs are currently experiencing irreparable harm from Defendants’

termination of the Programs, this Court should grant preliminary injunctive relief to prevent this

harm to the extent its decision on Plaintiffs’ summary judgment motion is pending.

       Plaintiffs support this application with (and incorporate herein by reference) the Complaint

(Dkt. 1), Plaintiffs’ initial motion for a temporary restraining order and preliminary injunction

(Dkt. 2) and all papers filed in support thereof (Dkts. 2-1 – 2-13 and Dkts. 43, 43-1 – 43-6) all

supplemental authority filed in support of Plaintiffs’ initial motion (Dkts. 11, 11-1, 11-2, 30, 30-1

– 30-15), the Amicus Brief of Former Immigration Judges and Former Members of the Board of

Immigration Appeals (Dkt. 46), Plaintiffs’ renewed motion for a temporary restraining order (Dkt.

53) and all papers filed in support thereof (Dkts. 52-1 – 52-18), plaintiffs’ supplemental

memorandum in support of their renewed motion for a temporary restraining order (Dkt. 59),

Plaintiff’s Amended Complaint (Dkt. 62), the administrative record produced by Defendants

(Dkts. 65 – 65-4), the concurrently filed memorandum of points and authorities, the Declaration

of Lauren Cusitello (ABA), the Declaration of Alicia de la O (ABA), the Declaration of Aimee

Korolev (ABA), the Declaration of Rebecca Lightsey (American Gateways), the Declaration of

Atenas Burrola Estrada (Amica Center), the Declaration of Cristina Ceron (CCLA), the

Declaration of Melissa Mari Lopez (Estrella), the Declaration of Laura St. John (FIRRP), the




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       Case 1:25-cv-00298-RDM          Document 67         Filed 05/02/25    Page 4 of 4




Declaration of Jessica Farb (ICWC), the Declaration of Al Page (ISLA), the Declaration of Lisa

Koop (NIJC), the Declaration of Vanessa Gutierrez (NWIRP), the Declaration of Ryan Brunsink

(PIRC), the Declaration of Emily Bachman Brock (RMIAN), the Declaration of Monique R.

Sherman (RMIAN), the Declaration of David Duea (LCSNW), the Declaration of Ruby Robinson

(MIRC), the Declaration of Randolph P. McGrorty (CLS Miami), the Declaration of Erin

McKenney (Just Neighbors), the Declaration of Margaret Martin (CCNY), the Declaration of

Michael Oropeza (El Pueblo), the Declaration of Kiera LoBreglio (CC Newark), the Declaration

of Christopher M. Jones (FLS), and all other evidence properly before this Court.

       Accordingly, Plaintiffs request that the Court grant Plaintiffs’ Motion for Summary

Judgment and Request for Preliminary Injunctive Relief.



May 2, 2025

s/ Adina Appelbaum                                   s/ Laura Sturges_____________________

 AMICA CENTER FOR IMMIGRANT                        GIBSON DUNN & CRUTCHER
 RIGHTS

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